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IN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF ARKANSAS
FAYETTEVILLE DIVISION

JOSHUA ORSINGHER HENSON PLAINTIFF
V. CASE NO. 5:20-CV-05099
JANE DOE NURSES; JOHN
DOE DEPUTIES; NURSE JESSE
PRINCE; and DEPUTY FOSTER DEFENDANTS

OPINION AND ORDER

Plaintiff Joshua O. Henson filed this action pursuant to 42 U.S.C. § 1983. He
proceeds pro se and in forma pauperis. At the time, Plaintiff was incarcerated in the
Benton County Detention Center.

When he filed this case, Plaintiff was specifically advised (Doc. 3) that he was
required to immediately inform the Court of any change of address. If Plaintiff was
transferred or released, Plaintiff was told he must advise the Court of any change in his
address by no later than thirty (30) days from the time of his transfer to another facility
or his release. Additionally, Rule 5.5(c)(2) of the Local Rules for the Eastern and
Western Districts of Arkansas requires pro se parties to “promptly notify the Clerk and
other parties to the proceedings of any change in his or her address, to monitor the
progress of the case, and to prosecute or defend the action diligently.”

On July 27, 2020, and August 3, 2020, mail was returned to the Court (Docs. 10
& 11) as undeliverable with a notation that he was no longer incarcerated at the Benton

County Detention Center. Plaintiff had until August 26, 2020, to provide the Court with

his new address.
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To date, Plaintiff has not provided a new address or contacted the Court in any
way. Accordingly, this case is DISMISSED WITHOUT PREJUDICE pursuant to Rule
41(b) of the Federal Rules of Civil Procedure and Rule 5.5(c)(2) of the Local Rules for
the Eastern and Western Districts of Arkansas.

IT 1S SO ORDERED on this day of August 2020.

  
  

 

PIVIOTHY L.BROOKS
UNITE ATES DISTRICT JUDGE
